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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

 UNITED STATES OF AMERICA,                   )
           Plaintiff,                        )
                                             )      3:12-cr-00002-RLY-CMM-2
 vs.                                         )
                                             )
 KENNETH FOX,                                )
          Defendant.                         )

                           REPORT AND RECOMMENDATION

        On October 13, 2020, the Court held an initial hearing on the Petition for

 Warrant for Offender Under Supervision filed on May 23, 2019. Kenneth Fox

 (“Defendant”) appeared in person with FCD counsel, Dominic Martin. The Government

 appeared by Todd Shellenbarger, Assistant United States Attorney. U. S. Probation

 appeared by Officer Jennifer Considine and Officer Katrina Sanders.

        The Court conducted the following procedures in accordance with Fed. R. Crim.

 P. 32.1(a)(1) and 18 U.S.C. §3583:

        1.        The Court advised Defendant of his rights and provided him with a copy of

 the petition. Defendant orally waived his right to a preliminary hearing.

        2.        After being placed under oath, Defendant admitted Violations 1 and 2.

 [Docket No. 157.]

        3.        The allegations to which Defendant admitted, as fully set forth in the

 petition, are:


        Violation
        Number          Nature of Noncompliance

             1.         "The defendant shall not commit another federal, state, or local
                        crime."
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                      On May 17, 2019, the offender was arrested on a writ and was
                      placed in the Vanderburgh County Jail. On May 18, 2019, while
                      incarcerated on the writ, the offender was charged with Dealing
                      Marijuana; a felony, Possession of Methamphetamine; a felony,
                      Possession of Marijuana; a felony, Trafficking with an Inmate
                      Controlled Substance; a felony, in Vanderburgh County Case No.
                      82C01-1905-MC-1531.


              2.       "The defendant shall not possess a controlled substance. The
                      defendant shall refrain from any unlawful use of a controlled
                      substance."

                      The offender reported for urinalysis drug screens which resulted in
                      the following results: on April 2, 2019, he tested positive for
                      cannabinoids; on May 8, 2019, he tested positive for cannabinoids
                      and amphetamines; and on May 14, 2019, he tested positive for
                      amphetamines.


        4.     The parties stipulated that:

               (a)    The highest grade of violation is a Grade A violation.

               (b)    Defendant’s criminal history category is VI.

               (c)    The range of imprisonment applicable upon revocation of
                      supervised release, therefore, is 24 months imprisonment.

        5.     Parties jointly recommended that defendant be placed in VOA facility for

 six (6) months and continue Supervised Release for two (2) years complying with all

 conditions. Parties request credit for time served beginning from October 6, 2020.

        6.     The Magistrate Judge, having considered the factors in 18 U.S.C. §3553(a),

 and as more fully set forth on the record, finds that:

        (a)    The Defendant violated the conditions in the petition;

        (b)    That the agreement of the parties is an appropriate resolution of this

        matter and the agreement is commended to the favorable consideration of the

        District Judge;


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       The parties are hereby notified that the District Judge may reconsider any matter

 assigned to a Magistrate Judge. The parties further agree that defendant should remain

 detained pending the District Judge’s review of the report and recommendation. Should

 the District Judge accept this report and recommendation, the parties are further agreed

 that detention should continue pending an available bed for the defendant at VOA.

       The parties have waived the 14-day objection period.

 Dated: October 13, 2020




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